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 1   LAWRENCE G. BROWN
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 2   MICHAEL M. BECKWITH
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     Sacramento, California 95814
 4   Telephone: (916) 554-2797
 5
 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )    CR. S-08-178 MCE
12              Plaintiff,             )
                                       )   STIPULATION SETTING FURTHER
13                                     )   STATUS CONFERENCE AND EXCLUDING
           v.                          )   TIME FOR TRANSFER OF CASE
14                                     )
     Abraham Barragan-Zepeda,          )
15        et al.,                      )
                                       )
16              Defendants.            )   Hon. Morrison C. England, Jr.
                                       )
17
18
19         The parties agree that a further status conference should be
20   set on April 16, 2009 at 9:00 a.m., to allow the parties to
21   address any issues that arise in the course of transferring the
22   case to the Western District of Washington.
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 1         The parties also agree that, in light of the change of
 2   venue, the time between February 19, 2009 (the date upon which
 3   the Court granted the defendants’ motion), and the defendants’
 4   initial appearance in the Western District of Washington should
 5   be excluded from the calculation of time under the Speedy Trial
 6   Act to allow for the transfer of the case.        18 U.S.C. §
 7   3161(h)(1)(E).
 8
 9                                           Respectfully Submitted,
10                                           LAWRENCE G. BROWN
                                             Acting United States Attorney
11
12   Dated: March 25, 2009               By:/s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
13                                          Assistant U.S. Attorney
14
15   Dated: March 25, 2009               By:/s/ Lexi Negin
                                            LEXI NEGIN
16                                          Attorney for defendant
                                            Abraham Barragan-Zepeda
17
18   Dated: March 25, 2009               By:/s/ Shari Rusk
                                            SHARI RUSK
19                                          Attorney for defendant
                                            Fernando Barragan-Zepeda
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21   ///
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 1   Dated: March 25, 2009              By:/s/ Gilbert Roque
                                           GILBERT ROQUE
 2                                         Attorney for defendant
                                           Rigoberto Garfias-Barragan
 3
 4   Dated: March 25, 2009              By:/s/ Lori Teichert
                                           LORI TEICHART
 5                                         Attorney for defendant
                                           Rigoberto Garfias-Barragan
 6
 7
 8        IT IS SO ORDERED.
 9
     Dated: March 27, 2009
10
11                                    _____________________________
12                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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